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IN THE UNITED STATES DISTRICT COURT |
DEC | 2 2023
FOR THE EASTERN DISTRICT OF VIRGINIA
CLERK, U\S. DISTRICT COURT
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UNITED STATES OF AMERICA
Criminal No. 3:23-cr- >
Vv.
Possess with Intent to Distribute Cocaine
ERREZ TEKEL PERRY, 21 U.S.C. § 841
(Count 1)
Defendant.

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) Possess Firearms in Furtherance of
) Drug Trafficking

) 18 U.S.C. § 924(c)

) (Count 2)

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Possess Firearms After Felony Conviction
18 U.S.C. § 922(g)(1)
(Count 3)

Forfeiture Allegation

INDICTMENT
DECEMBER 2023 TERM - At Richmond, Virginia

THE GRAND JURY CHARGES THAT:
COUNT ONE

(Possess with Intent to Distribute Cocaine)

On or about September 19, 2023, in the Eastern District of Virginia and within the
jurisdiction of this Court, the defendant, ERREZ TEKEL PERRY, did knowingly and
intentionally possess with the intent to distribute a mixture and substance containing a detectable
amount of cocaine, a Schedule II controlled substance.

(In violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(C).)

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COUNT TWO
(Possess Firearms in Furtherance of Drug Trafficking)

On or about September 19, 2023, in the Eastern District of Virginia and within the
jurisdiction of this Court, the defendant, ERREZ TEKEL PERRY, did knowingly possess
firearms in furtherance of a felony drug trafficking crime, to wit: possession with intent to
distribute cocaine as charged in Count One, incorporated by reference herein.

(In violation of Title 18, United States Code, Section 924(c).)

COUNT THREE
(Possess Firearms after Felony Conviction)

On or about September 19, 2023, in the Eastern District of Virginia and within the
jurisdiction of this Court, the defendant, ERREZ TEKEL PERRY, did knowingly possess
firearms, to wit: an FN Five-Seven, 5.7 caliber semiautomatic pistol, bearing serial number
386443423; and a Century Arms, Model BFT47, 7.62 caliber semiautomatic pistol, bearing serial
number BFT47P01039 and accompanying ammunition, in and affecting interstate and foreign
commerce, after knowingly being convicted of a crime by a court, punishable by imprisonment
for a term of exceeding one year.

(In violation of Title 18, United States Code, Section 922(g)(1).)

FORFEITURE ALLEGATIONS
Pursuant to Rule 32.2(a) Fed. R. Crim. P., the defendant is hereby notified that if
convicted of the offense charged in Count One of this Indictment, the defendant shall forfeit to
the United States all property constituting or derived from proceeds the defendant obtained,

directly or indirectly, as a result of the violations and any property used, or intended to be used,

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in any manner or part, to commit or to facilitate the commission of the offense, including but not
limited to:
e $18,024 seized on September 19, 2023.

Further, the defendant is hereby notified that if convicted of the offenses charged in
Counts Two or Three, he shall forfeit any firearm and ammunition involved in or used in any
knowing violation of the offenses charged, to include: an FN Five-Seven, 5.7 caliber
semiautomatic pistol, bearing serial number 386443423; and a Century Arms, Model BFT47,
7.62 caliber semiautomatic pistol bearing serial number BFT47P01039 and accompanying
ammunition,

(In accordance with Title 18, United States Code, Section 924(d), incorporated by Title 28,

United States Code, Section 2461(c)) and Title 21, United States Code, Section 853).

A TRUE BILL

FOREPERSON ()

JESSICA D. ABER
UNIZED/STATES

ivia L. Norman
Assistant United States Attorney
